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UNITED STATES BANKRUPTCY COURT
DISTRICT OF UTAH
PDF FILE WITH AUDIO FILE ATTACHMENT

      24-21724
      NB Flats, DST
      Application to Employ Tucker Ellis LLP as Attorney for Debtor-in-Possession
      Filed by NB Flats




      Case Type :                    bk
      Case Number :                  24-21724
      Case Title :                   NB Flats, DST

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